                Case: 3:24-mj-00059-CHG Doc #: 1 Filed: 01/29/24 Page: 1 of 6 PAGEID #: 1
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                        Southern District
                                                     __________  District of
                                                                          of __________
                                                                             Ohio      [:]
              In the Matter of the Search of                                 )
          (Briefly describe the property to be searched                      )
           or identify the person by name and address)                       )              Case No. 3:24-mj-00059
         Priority Mail Package with Tracking Number                          )
               9505 5107 233140220710 70                                     )
                Postmarked January 22, 2024
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
      Priority Mail Package, 9505 5107 233140220710 70, addressed to 2352 San Rae drive, Kettering, Ohio 45419,
  with a return address of 907 Toomes ave, coming, CA 96021.
located in the         Southern       District of            Ohio           , there is now concealed (identify the
person or describe the property to be seized):
 Controlled Substances, materials and documents reflecting the possible distribution of controlled substances through
 the U.S. Mails, including money and/or monetary instruments paid for controlled substances

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                  evidence of a crime;
                  contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        21 USC 841 (a)(1)                         Distribution and possession with intent to distribute a controlled substance.
        21 USC 846                                Conspiracy to distribute/possess with intent to distribute a controlled substance
        21 USC 843(b)                             Use of a communication facility to commit a felony

          The application is based on these facts:
        SEE ATTACHED AFFIDAVIT


               Continued on the attached sheet.
               Delayed notice of        days (give exact ending date if more than 30 days:                                  ) is requested under
               18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signa
                                                                                                                  signature

                                                                                       Sean C. Humphrey, USPIS Task Force Officer
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                     Telephone                        (specify reliable electronic means).


Date:      January 29, 2024
                                                                                                        Judge’s signature

City and state: Dayton, OH
                                                                                                      Printed name and title
       Case: 3:24-mj-00059-CHG Doc #: 1 Filed: 01/29/24 Page: 2 of 6 PAGEID #: 2


                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


     IN THE MATTER OF THE SEARCH OF:                             3:24-mj-00059
                                                       Case No. ____________________
               PRIORITY MAIL
     PACKAGE WITH TRACKING NUMBER
                                                       Filed Under Seal
          9505 5107 2331 4022 0710 70


                              AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT


         I, Sean C. Humphrey, being first duly sworn, hereby depose and state as follows:


1.       I, Detective Sean C. Humphrey, am employed by the Dayton Police Department and have
         been since July 2008. I have previously been assigned to Patrol Operations and am
         currently assigned to the Narcotics Bureau - Montgomery County Regional Agencies
         Narcotics and Gun Enforcement (RANGE) Task Force.                  I have extensive prior
         experience in investigating drug cases that resulted in successful prosecution of persons
         involved in trafficking of drugs, possession of drugs and other related offenses. I have
         been involved in narcotics related arrests, executed search warrants that resulted in the
         seizure of narcotics and participated in undercover narcotics purchases. Through training
         and experience, I am familiar with the way persons involved in the illicit distribution and
         sales of controlled substances often operate. These subjects usually attempt to conceal
         their identities, the locations at which they reside, where they store controlled substances,
         and the illegal proceeds derived from the sale of controlled substances.
         Through training and experience, I am familiar with the practices of narcotics distributors
         and sellers, whereby they attempt to conceal the true nature, source, and location of
         proceeds of illegal activity, commonly referred to as money laundering. I have been a
         Task Force Officer with the United States Postal Inspection Service since November
         2022. I am presently assigned to the Cincinnati Field Office of the United States Postal
         Inspection Service, Pittsburgh Division, with investigative responsibility for the Southern
         District of Ohio. Part of my responsibility involves investigating the illicit use of the
         United States Mails in the transportation of narcotics, other dangerous controlled

                                                   1
     Case: 3:24-mj-00059-CHG Doc #: 1 Filed: 01/29/24 Page: 3 of 6 PAGEID #: 3


      substances, and financial proceeds from, or instrumentalities used in, the sale of such
      narcotics and controlled substances (hereinafter, “Drugs and/or Proceeds”).
2.    Based on my prior training and experience as a Task Force Officer with the United States
      Postal Inspection Service, I have become aware that drug traffickers frequently use
      United States Priority Mail Express (overnight) or Priority Mail (2-3-day) to transport
      Drugs and/or Proceeds.       Additionally, because of my prior investigations, law
      enforcement training, and successful controlled-substance prosecutions involving use of
      the United States Mail, I have learned of certain common characteristics and/or
      circumstances that indicate a particular package may contain Drugs and/or Proceeds.
      These circumstances and/or characteristics include, but are not necessarily limited to, the
      following: the mailer uses different post offices on the same day to send packages, the
      return address is false or non-existent, the addressee is not known to receive mail at the
      listed delivery address, the package is heavily taped, the package is mailed from a known
      drug source location, the labeling information contains misspellings, the label contains an
      illegible waiver signature, unusual odors emanate from the package, and the listed
      address is located in an area of known or suspected drug activity.
3.    On January 29, 2024, the U.S. Postal Inspection Service intercepted a package
      (hereinafter “the Package”) at the Cincinnati Network and Distribution Center in
      Cincinnati, Ohio. The Package is a box bearing USPS Priority Mail tracking number
      9505 5107 2331 4022 0710 70, mailed from Post Office 94503, located in Northern
      California. It was postmarked January 22, 2024, with the following address information:
                                     Sender:       907 Toomes ave
                                                  corning
                                                  CA, 96021


                                    Addressee:     2352 San Rae drive
                                                   Kettering
                                                   Ohio 45419




      Through training and experience as a Task Force Officer with U.S. Postal Inspection
      Service, I know that Northern California has been long known to be a drug source
      location.
     Case: 3:24-mj-00059-CHG Doc #: 1 Filed: 01/29/24 Page: 4 of 6 PAGEID #: 4


4.      I was unable to perform a check in CLEAR for the recipient’s or the sender’s
       information since no name was listed on the Package for the recipient or sender. CLEAR
       is a law enforcement database that is used as a tool for investigators to identify
       person/business and address information.
5.     According to postal business records, 2352 San Rae Drive, Kettering OH, 45419 is an
       apartment building. The Package has no number or letter to indicate which apartment unit
       it is intended for.
6.      On January 29, 2024, at the request of the U.S. Postal Inspection Service, Montgomery
       County Sheriff’s Office K9 Detective Tony Hutson conducted a narcotics-detection
       canine “free air” check of the outside of the Package. An Inspector/Task Force Officer
       was present during said check. Prior to conducting the “free air” check, the Package was
       placed in a room with multiple similar and like packages. As set forth in the attached
       affidavit of K9 Detective Hutson, “Hank” alerted positively for the presence or odor of a
       narcotic or other controlled substance exuding from the Package. “Hank” is a properly
       trained and certified narcotics-detection canine.
7.     Based on my law enforcement training and experience as a United States Postal
       Inspector, the Package’s address information – including failure to provide full and
       accurate information for the return address and failure to provide full and accurate
       information for the recipient address –      the positive alert of the narcotics-detection
       canine, and the Package being sent from a known drug source location via Priority Mail
       are all indicative of and consistent with Drugs and/or Proceeds being present in the
       Package.


Therefore, a search warrant to open the Package is requested.


Further, your affiant sayeth naught.
    Case: 3:24-mj-00059-CHG Doc #: 1 Filed: 01/29/24 Page: 5 of 6 PAGEID #: 5




                                              Respectfully submitted,



                                              Sean C
                                              S    C. H
                                                      Humphrey
                                                          h
                                              Task Force Officer
                                              United States Postal Inspection Service




                                                                               29th day of
Subscribed and sworn to by reliable electronic means (telephone)before me this ____
   January
____________, 2024.


___________________________________
UNITED STATES MAGISTRATE JUDGE
 Caroline H. Gentry
 United States Magistra
        Case: 3:24-mj-00059-CHG Doc #: 1 Filed: 01/29/24 Page: 6 of 6 PAGEID #: 6




®
         Ut.!TED STATES P OSTAL INSP:CTION SERVICE

    '    PITTSBURGH DIVISION
.
                                                     OFFICER AFFIDAVIT



         I, Officer Anthony 1-!utson, am and have been employed by the Montgomery County

         Sheriffs Office_since 1~9~. Among other duties, I am current ly the assigned handler

         of narcotics detection canine "HANK" which is trained and certified in the detection

         of the presence or cJdor of narcotics described as follows:

          Cocaine,._Methfilnpf:!..e-tamin~Heroin and derivitives

         On 1/29/24, at the request of Postal Inspector TFO Humphrey. I responded to the

         -~D~a=.,y~t~o~n~P~D~&~C~._ _ _ _ _, where "HANK" did alert to and indicate upon:

                     USPS Priority Mail Tracking# 9505 5107 2331 4022 0710 70

                     TO: 2352 San Rae d rive                       FROM: 907 Toomes ave
                             Kettering                                   corning
                             Ohio 45419                                  CA, 96021




         Which, based upon my training and experience and that of " HANK", indicates there

         is contained within or upon the above described item, the presence or odor of a

         narcotic or other controlled substa nce.




         (Witness/Date}




         C:r.c1nna1, Field Office
         895 Co,,tral Av cmuo STE 400
         Cincinnati, OH 46202-5748
         Telephone: 877-876-2455
         FAX: 513-634-8009
